     Case: 2:23-cv-00942-JLG-EPD Doc #: 1 Filed: 03/13/23 Page: 1 of 24 PAGEID #: 1




                        IN THE UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF OHIO
                                  EASTERN DIVISION

TRACI SHAW
c/o David A. Goldstein Co., L.P.A.              :          CASE NO.:
511 S. High Street, Suite 200                   :
Columbus, Ohio 43215                            :          JUDGE
                                                :
                Plaintiff,                      :          MAGISTRATE JUDGE
                                                :
v.                                              :          JURY DEMAND ENDORSED
                                                :          HEREIN
RICHARD WOZNIAK                                 :
(Individually and in his                        :
official capacity as a Deputy                   :
Director with the Columbus Department of        :
Public Safety)                                  :
77 N. Front Street                              :
Columbus, Ohio 43215                            :
                                                :
And                                             :
                                                :
CITY OF COLUMBUS                                :
c/o Zach Klein                                  :
Columbus City Attorney                          :
77 North Front Street                           :
Columbus, Ohio 43215                            :
                                                :
                Defendants.                     :

                                           COMPLAINT

         Plaintiff Traci Shaw, by and through her counsel, David A. Goldstein Co., L.P.A., and

Collins and Stephens Co., L.P.A. for her Complaint against Defendant Richard Wozniak does

hereby state, allege, and aver the following:

      I. JURISDICTION AND VENUE

         1.     Jurisdiction over claims brought under the Civil Rights Act of 1871, 42 U.S.C. §

1983, is conferred on this Court by 28 U.S. C. § 1331 (federal question), § 1343 (civil rights),
  Case: 2:23-cv-00942-JLG-EPD Doc #: 1 Filed: 03/13/23 Page: 2 of 24 PAGEID #: 2




and jurisdiction over the state claims is conferred by 28 U.S.C. § 1367 (supplemental

jurisdiction).

        2.       Compensatory and punitive damages are sought pursuant to the common law of

the State of Ohio and 28 U.S.C. § 2201 and § 2202.

        3.       Costs and attorneys’ fees may be awarded pursuant to 42 U.S.C. § 1988, the

common law of the State of Ohio and Fed. R. Civ. P. 54.

        4.       Venue is proper pursuant to 28 U.S.C. § 1391(b) and S.D. Ohio Civ. R. 82.1(b),

because the events giving rise to this action occurred in Franklin County, Ohio, where Defendant

served as a Deputy Director with the Department of Public Safety for the City of Columbus.

    II. PARTIES

        5.       Plaintiff Traci Shaw is an individual, employed by the City of Columbus as a

Columbus Police Officer and, at all times relevant hereto, a resident of Franklin County, Ohio.

        6.       Defendant Richard Wozniak is being sued in his individual capacity and was, at

all relevant times hereto, was a Deputy Director with the Department of Public Safety for the

City of Columbus and was assigned to investigate police misconduct. Upon information and

belief, Defendant was a “person” under 42 U.S.C. § 1983 acting under color of law.

        7.       Defendant, City of Columbus, is a local government entity organized and

operating under the laws of the State of Ohio.

    III. FACTS

        8.       The facts upon which this Complaint is based and the claims of Traci Shaw

(referred to herein as “Plaintiff”) against Defendants Richard Wozniak (referred to herein as

“Wozniak”) and Defendant City of Columbus are founded, in part, upon the abuse of process,

malicious prosecution, and civil conspiracy against Plaintiff in violation of her civil rights.




                                                  2
  Case: 2:23-cv-00942-JLG-EPD Doc #: 1 Filed: 03/13/23 Page: 3 of 24 PAGEID #: 3




        9.     This is a Civil Action for compensatory and punitive monetary damages for

Defendants’ violations of Plaintiff’s rights secured under 42 U.S.C. §§ 1983 and 1988, the

Fourth, and Fourteenth Amendments to, and other provisions of the United States Constitution

and comparable provision of the Ohio Constitution, as well as rights secured under the laws of

Ohio.

        10.    Plaintiff has been a Columbus Police officer for 23 years At all relevant times

hereto her duties with the City of Columbus Division of Police (CPD), Plaintiff was assigned to

the Training Bureau and her job duties include training sworn CPD personnel in the Division’s

policies, procedures, tactics, and techniques in relation to the Division’s Use-of-Force

Continuum. This training involves annual certification and recertification in intermediate

weapons, prisoner control tactics and techniques, pain compliance, handcuffing; and a review of

policies, procedures, case law associated with the use of force.

        11.    Plaintiff has been retained by the Columbus City Attorney’s Office as a “Use-of-

Force” expert in matters whereby the City of Columbus and its’ officers have been named in

civil lawsuits alleging use of “excessive force.”

        12.    Plaintiff is a certified subject matter expert in Subject Control through the Ohio

Peace Officer Training Commission (OPOTC). Plaintiff is certified to provide instruction to

officers throughout the State of Ohio on all of the concepts, issues, and procedures for threat

assessment, approaching, controlling, and restraining resisting subjects.

        13.    On May 25, 2020, Officer Derek Chauvin of the Minneapolis Police Department

murdered George Floyd.

        14.    Between May 28, 2020, through July 19, 2020, in Columbus, Ohio, individuals

took to the streets of the City of Columbus to demonstrate against the murder of George Floyd.




                                                    3
  Case: 2:23-cv-00942-JLG-EPD Doc #: 1 Filed: 03/13/23 Page: 4 of 24 PAGEID #: 4




       15.     The rioters assaulted police officers with several types of projectiles to include,

but not limited to, rocks, frozen water bottles, and pieces of concrete. In addition, fireworks were

shot at officers. Rioters shattered windows at local businesses, set fires to and burglarized/looted

businesses and landmarks, such as the Ohio Theater

       16.     On May 30, 2020, Governor Mike DeWine activated the National Guard, CPD

requested Mutual Aid, and Columbus Mayor Andrew Ginther declared a state of emergency and

instituted a 10:00 p.m. curfew. A state of emergency notification was distributed to the public

declaring an emergency in the downtown area and instructed citizens to avoid the area.

       17.     Rioters used “supply” and/or “agitator” vehicles to facilitate their goal of

afflicting harm on police officers, citizens and maximizing destruction within the City of

Columbus. Some of these vehicles were found to contain firearms, ammunition, sledgehammers,

projectiles, and other dangerous items.

       18.     As a result of the conduct of rioters, the CPD issued the several orders to the

public and its own officers.

       19.     Rioters used “supply” and/or “agitator” vehicles to facilitate their goal of

afflicting harm on police officers, citizens and maximizing destruction within the City of

Columbus. These vehicles contained firearms, ammunition, sledgehammers, projectiles and other

dangerous items.

       20.     As a result of the conduct of the rioters, more than 200 Columbus Police officers

sustained injuries.

       21.     On May 29, 2020, Plaintiff’s field force members were advised by CPD

supervisors that the Division would not tolerate crimes of property destruction, crimes of

violence and roadways being taken over by rioters.




                                                 4
  Case: 2:23-cv-00942-JLG-EPD Doc #: 1 Filed: 03/13/23 Page: 5 of 24 PAGEID #: 5




        22.    On May 30, 2020, Plaintiff was assigned to a “mobile arrest team”. The purpose

of the “mobile arrest team” was to arrest individuals who were resupplying rioters with

dangerous ordinances used to inflict harm on police officers and the general public.

        23.    Around 6:00 p.m., officers were reporting that in the downtown vicinity,

including the Short North area, crowds were threatening to “kill the cops,” throwing bottles and

other items at the officers, taking over roadways, failing to follow any commands and assaulting

officers.

        24.    At all relevant times hereto, an emergency was declared in the downtown area,

including the Short North instructing all citizens to disperse and avoid the area, the National

Guard had been activated, and a curfew was implemented.

        25.    At or around 6:30 p.m., Plaintiff, along with several other officers, were located at

High and Gay Street in Columbus, Ohio, who observed rioters surrounding and threatening

business owners who at that time were attempting to board up their businesses.

        26.    Pursuant to orders provided by Plaintiff’s superiors, Plaintiff and other officers

formed a line of cruisers in the roadway in order to keep the rioters and/or protestors on the

sidewalk as well as clearing the roadways for the motoring public.

        27.    During this time frame, rioters were throwing rocks, bottles and other items at

Plaintiff and other police officers.

        28.    As the rioters proceeded north on High Street, Plaintiff, as well as fellow officers,

became surrounded by rioters.

        29.    Plaintiff and fellow officers were at the intersection of Hubbard and High Street,

at which time Plaintiff’s supervisor instructed all officers to retreat to the area of Goodale and

High Street for their own safety.




                                                 5
  Case: 2:23-cv-00942-JLG-EPD Doc #: 1 Filed: 03/13/23 Page: 6 of 24 PAGEID #: 6




           30.   The goal of the Columbus Police Department at the intersection of Goodale and

High Street was to inhibit rioters from forming a larger group that would result in an even more

dangerous situation for the public and police.

           31.   Due to the fact that rioters had taken over the roadway, disregarded verbal

warnings to disperse, outnumbered and overwhelmed the officers, an “officer in trouble call”

was aired. Plaintiff was ordered to return to her cruiser and use the public announcement (PA)

system to order rioters to “Clear the Area or You will be Maced.”

           32.   Franklin County SWAT Team responded to the scene and implemented the Long

Range Acoustic Device (LRAD) system. The LRAD was used to audibly order the rioters to

clear the area by broadcasting, “This is the Franklin County Sheriff’s Office…Clear the Area.”

           33.    At all relevant times hereto, Plaintiff and other peace officers continued to be

struck with fireworks, rocks and other debris.

           34.   Plaintiff was notified that a “supply” vehicle was parked in the roadway east of

the intersection. Plaintiff was ordered by her supervisor to remain at Goodale and High St due to

the limited resources and the emergency situation created by the rioters.

           35.   The Franklin County SWAT Team pushed the rioters north and Plaintiff was

ordered to be the “rear guard,” and ensure the area was cordoned off to pedestrian and vehicular

traffic.

           36.   At all relevant times hereto, Sergeant Laura Suber of the Columbus Police

Department, who was the supervisor of Plaintiff, ordered Plaintiff and other officers, that if

presented with the opportunity, to initiate arrests for any offenses for failure to disperse, riot or

misconduct due to the emergency declared by the City.




                                                 6
  Case: 2:23-cv-00942-JLG-EPD Doc #: 1 Filed: 03/13/23 Page: 7 of 24 PAGEID #: 7




          37.   There was a group of individuals near a business formerly known as Blackpointe

who were throwing objects at Plaintiff.

          38.   One of the individuals in the area set forth above approached Plaintiff. Plaintiff

lifted her chemical agent (commonly known as mace) as a deterrent and instructed her to “clear

the area”. This individual complied with Plaintiff’s orders, turned around and went back to the

group of individuals.

          39.   At or around the same time as above, Plaintiff was ordered by her superiors to

proceed to the “supply” vehicle that was east of her.

          40.   As Plaintiff entered her cruiser, the group of individuals referenced above quickly

began to walk towards Plaintiff and the area which was cordoned off.

          41.   Plaintiff yelled from inside her cruiser to the individuals, “You can’t come this

way”. The individuals failed to obey Plaintiff’s lawful command and continued to approach the

intersection of Goodale and High.

          42.   Based upon the individuals’ failure to comply with Plaintiff’s lawful command, as

well as the orders previously provided to Plaintiff to ensure the area was cordoned off and with

the awareness individuals in the same area had thrown objects at Plaintiff and other officers, the

prior orders by law enforcement to “clear the area”, prior orders to protect the rear guard of the

Franklin County Deputies, the policy and procedures of CPD, and other reasonable

justification(s), Plaintiff lawfully deployed a one to two second burst of Division issued chemical

spray.

          43.   After Plaintiff lawfully deployed the one to two second burst of Division issued

chemical spray, the individuals complied with Plaintiff’s commands and retreated behind Black

Pointe.




                                                 7
  Case: 2:23-cv-00942-JLG-EPD Doc #: 1 Filed: 03/13/23 Page: 8 of 24 PAGEID #: 8




       44.     None of the individuals who encountered the chemical agent required any medical

attention nor suffered any injuries.

       45.     Plaintiff immediately proceeded to the “supply vehicle” and arrested the driver.

Plaintiff and other officers recovered an assault style rifle, a revolver; and ammunition from the

“supply vehicle”.

       46.     After the riots, there were numerous citizen complaints, social media postings and

media coverage regarding the conduct of peace officers, including whether the use of force was

reasonable and justified.

       47.     On or about June 24, 2020, Mayor Andrew Ginther had announced that an

independent investigator would be hired to investigate alleged police misconduct. It was later

disclosed that the law firm of BakerHostetler would conduct the investigations. However, later it

was disclosed BakerHostetler was investigating administrative violations by Columbus Police

Officers.

       48.      At or around June of 2020, City of Columbus by and through Mayor Ginther

and/or Columbus City Council hired and/or appointed Wozniak to investigate alleged criminal

conduct by Columbus Police officers during the riots.         Wozniak’s position was a Deputy

Directory with the Columbus Department of Public Safety.

       49.     At the time of his hiring and/or appointment to act as a special investigator and in

his employment with City of Columbus, Department of Public Safety, Wozniak was required to

uphold the United States Constitution, as well as the constitution and laws of the State of Ohio.

       50.     At all relevant times hereto, Wozniak acted in his official capacity and under the

color of law as a special investigator and/or Deputy Director for the City of Columbus

Department of Public Safety.




                                                 8
  Case: 2:23-cv-00942-JLG-EPD Doc #: 1 Filed: 03/13/23 Page: 9 of 24 PAGEID #: 9




         51.   Upon information and belief, there were no guidelines, policies, or procedures in

place as to what would be investigated administratively and what would be investigated

criminally.

         52.   Upon information and belief BakerHostetler issued 49 reports in which some had

multiple complaints and/or allegations, involving multiple officers or unknown officers.

Recommendations by a BakerHostetler investigator showed 22 allegations were unfounded,

including three that were withdrawn, 28 allegations were not sustained, five were exonerated and

eight were sustained. The eight sustained allegations involved five officers.

         53.   At all relevant times hereto, Mayor Ginther represented to the public that in

"egregious" cases, officers could face criminal charges. Said cases were being investigated and

reviewed by Wozniak.

         54.   At all relevant times hereto, the United States Attorney for the Southern District

of Ohio reviewed the conduct of CPD and its officers during the riots and refused to bring any

criminal charges including against Plaintiff.

         55.   On June 9, 2021, without probable cause, legal right, or justification and/or failure

to conduct a reasonable investigation, motivated by politics and/or ill will, Wozniak filed in

Franklin County Municipal Court the following criminal complaints against Plaintiff as a result

of her conduct as a Columbus Police Officer in her official capacity on May 30, 2020 during the

riots:

               -   Three Counts of Assault in violation of R.C.2903.13(A) for purported use of
                   one burst of mace;
               -   Three Counts of Dereliction of Duty in violation of R.C. 2921.44(E) as a
                   result of the assault set forth above;
               -   Three Counts of Interfering with civil rights in violation of R.C. 2921.45 by
                   violating fourth amendment rights.




                                                 9
Case: 2:23-cv-00942-JLG-EPD Doc #: 1 Filed: 03/13/23 Page: 10 of 24 PAGEID #: 10




        56.     On October 25, 2021, without probable cause, legal right, or justification and/or

failure to conduct a reasonable investigation, motivated by politics and/or ill will, Wozniak filed

in Franklin County Municipal Court the following criminal complaints against Plaintiff as a

result of her conduct as a Columbus Police Officer in her official capacity on May 30, 2020

during the riots:

                -   One Count of Assault in violation of R.C.2903.13(A) for purported use of one
                    burst of mace;
                -   One Count of Dereliction of Duty in violation of R.C. 2921.44(E) as a result
                    of the assault set forth above;
                -   One Count of Interfering with civil rights in violation of R.C. 2921.45 by
                    violating fourth amendment rights.

        57.     Upon information and belief, prior to filing criminal charges against Plaintiff,

Wozniak failed to properly investigate the matter, including but not limited to: (1) interview

Columbus Police officers or any peace officer, including Plaintiff’s superiors: (2) interview two

of the alleged victims set forth in the criminal complaint; and (3) retain and/or consult with a

“use of force” expert.

        58.     As a result of the criminal charges being filed, Plaintiff was issued a bond with

conditions, requested to be fingerprinted and required to appear in court numerous times.

        59.     The filing of criminal charges garnered substantial media attention casting

Plaintiff in a disparaging light.

        60.     As a result of the criminal charges being filed, Plaintiff was relieved of her

assignment, surrendered her badge and service weapon, and was reassigned to the Patrol

Administrative Office. Plaintiff was suspended as a member of the Honor Guard and EARS

Committee. Plaintiff lost some of her training qualifications and/or certifications.

        61.     As a result of the criminal charges being filed, Plaintiff could no longer work

special duty and overtime.



                                                10
Case: 2:23-cv-00942-JLG-EPD Doc #: 1 Filed: 03/13/23 Page: 11 of 24 PAGEID #: 11




       62.      As a result of the criminal charges being filed, Plaintiff’s contract as an Adjunct

Professor with Columbus State Community College was not renewed. Plaintiff had served as an

Adjunct Professor for 10 years.

       63.      Upon information and belief, never before has a police officer or any peace

officer on the Central Ohio area or the State of Ohio been criminally charged for deploying a

chemical agent especially under the facts and circumstances set forth above including deploying

the agent for 1-2 seconds, while riots were in progress, whereby citizens would not head officers

verbal commands and no one was injured nor required medical attention.

       64.      Upon information and belief, the use of force by Plaintiff, specifically deploying a

chemical agent under the facts and circumstances set forth above, was reasonable and justified,

according to the Columbus Division of Police and experts in the field of law enforcement.

       65.      None of the alleged victims set forth in the criminal complaint were ever detained,

which is a required element for the criminal charge of Interfering with civil rights in violation of

R.C. 2921.45.

       66.      Upon information and belief, Wozniak, who at all relevant times hereto, is and

was a Deputy Director of the Department of Public Safety and special investigator on behalf of

the City of Columbus, allegedly investigated the matter involving Plaintiff, prepared and signed

an affidavit as to probable cause to file the criminal charges set forth above, prepared and signed

a the criminal complaints also drafted by Wozniak and, filed or caused to be filed the criminal

complaints with the Franklin County Municipal Court Clerk. The filing of those documents

initiated criminal proceedings against Plaintiff.

       67.      Under Ohio law, Wozniak was able to execute affidavits to initiate criminal

proceedings, but it would be improper for him to execute sworn statements asserting probable




                                                    11
Case: 2:23-cv-00942-JLG-EPD Doc #: 1 Filed: 03/13/23 Page: 12 of 24 PAGEID #: 12




cause in order to initiate criminal proceedings if he did not have sufficient evidence of probable

cause that a criminal act(s) was committed.

        68.    At all relevant times hereto, Wozniak had a duty to investigate, and verify any and

all claims of alleged criminal conduct.

        69.    At all relevant times hereto, Wozniak knew he had to have probable cause to file

the criminal charges against Plaintiff.

        70.    Wozniak failed to investigate the matter and apply the applicable law before filing

the criminal charges against Plaintiff.

        71.    Wozniak lacked probable cause to file some or all of the criminal charges against

Plaintiff.

        72.    Wozniak knew none of the alleged victims set forth in the criminal complaint

were ever detained, which is a required element for the criminal charge of Interfering with civil

rights in violation of R.C. 2921.45 and yet, without probable cause, still filed a probable cause

affidavit and signed the criminal complaint against Plaintiff.

        73.    Wozniak knew he lacked probable cause to file all of the criminal charges against

Plaintiff.

        74.    As a direct and proximate result of Wozniak’s conduct, Plaintiff sustained

damages, including extreme emotional distress, lost wages, and other losses, all in amounts that

will be shown when this cause comes on for trial.

        75.    The conduct of Wozniak was willful, malicious, oppressive, and in reckless

disregard of the constitutional rights of Plaintiff, thus justifying punitive damages against

Wozniak in an amount that will be shown when this matter comes on for trial.




                                                12
Case: 2:23-cv-00942-JLG-EPD Doc #: 1 Filed: 03/13/23 Page: 13 of 24 PAGEID #: 13




       76.     Wozniak, who was paid over $156,000.00 as a “special investigator,” filed

criminal complaints against three (3) Columbus Police Officers, including Plaintiff. The criminal

charges that were filed were dismissed against two officers, including Plaintiff, by the Special

Prosecuting Attorney and another officer was found “not guilty” by Judge O’Grady.

       77.     On July 19, 2022, the criminal charges against Plaintiff were dismissed at the

request of the Special Prosecuting Attorney.

       78.     At all relevant times hereto, this Civil Action is brought against Wozniak because

he initiated the malicious prosecution of Plaintiff, abuse of process against Plaintiff, engaged in a

civil conspiracy with City of Columbus and unknown individuals against Plaintiff; and other

actions and omissions under color of law which resulted in the deprivation of rights secured to

Plaintiff under the Constitutions and laws of the State of Ohio.

       79.     At all relevant times hereto, Plaintiff avers that Wozniak acted:

                   a. unlawfully, maliciously, deliberately, recklessly, willfully, intentionally, in

                       bad faith, and/or negligently;

                   b. wantonly; purposefully; knowingly;

                   c. without probable cause, legal right, or justification;

                   d. under color of law, statutes, ordinances, regulations, policies, customs,

                       and/or usage;

                   e. with deliberate indifference;

                   f. with malicious purpose;

                   g. and/or with gross negligence.

       80.     This Civil Action seeks compensatory and punitive monetary damages from

Wozniak for the commission of acts and/or omission to act under color of law, statutes,




                                                 13
Case: 2:23-cv-00942-JLG-EPD Doc #: 1 Filed: 03/13/23 Page: 14 of 24 PAGEID #: 14




ordinances, regulations, policies, customs, or usage which deprived Plaintiff of her rights,

privileges or immunities secured for Plaintiff by the Constitution and laws of the United States of

America and the Constitution of Ohio; and further, for singularly and/or acting in concert to

deny, and intentionally failing to prevent and/or neglecting to prevent and/or showing reckless

disregard and/or deliberate disregard to preventing the denial of Plaintiff’s rights to procedural

and substantive due process and equal protection of the laws, and her right to be free from

malicious prosecution and abuse of process by Wozniak.

       81.     Among other reasons, this action is brought to redress injuries to the liberty,

person, and property interests of Plaintiff because of Wozniak’s acts and/or omissions which

include but are not limited to: (a) abuse of process against Plaintiff; (b) malicious prosecution of

Plaintiff; (c) fraudulent and malicious deprivation of Plaintiff’s rights personal privacy, due

process, and equal protection of the laws of the United States of America and the State of Ohio;

(d) other acts and omissions of which resulted in injury or losses to Plaintiff; (e) abridgment of

Plaintiff’s rights secured to her under the Fourth, and Fourteenth Amendments of the United

States Constitution and similar provisions of the Ohio Constitution; (f) other acts and omissions

which resulted in injury or losses to Plaintiff; and (g) other actions and omissions under color of

law which resulted in the deprivation of rights secured to Plaintiff under the Constitutions and

laws of the State of Ohio.

   IV. CLAMS FOR RELIEF

    COUNT ONE: VIOLATION OF CIVIL RIGHTS PURSUANT TO 42 U.S.C. § 1983

       82.     Plaintiff incorporates by reference the prior allegations as if fully set forth herein.




                                                 14
Case: 2:23-cv-00942-JLG-EPD Doc #: 1 Filed: 03/13/23 Page: 15 of 24 PAGEID #: 15




        83.     This is an action brought against Wozniak in his individual and official capacities,

pursuant to the United States Constitution Amendments IV and XIV, in violation of 42 U.S.C. §

1983 and § 1988.

        84.     Wozniak was acting under the color of law when he wrongfully and without legal

justification subjected Plaintiff to unreasonable seizure and malicious prosecution, depriving her

of liberty and due process of law.

        85.     As a direct and proximate result of Wozniak omissions, and unreasonable seizure

and malicious prosecution, Wozniak deprived Plaintiff of the rights to be free from unreasonable

seizure, the right to be free from malicious prosecution, and the right to due process of law

guaranteed by the Fourth and Fourteenth Amendments of the United States Constitution.

        86.     Wozniak’s acts violated Plaintiff’s constitutional rights.

        87.     Wozniak’s deprivation of Plaintiff’s rights caused Plaintiff damages.

        88.     Wozniak’s above-described actions were malicious, reckless, deliberate, and

callously indifferent to Plaintiff’s federally protected rights.

              COUNT TWO: MALICIOUS PROSECUTION UNDER OHIO LAW

        89.     Plaintiff incorporates by reference the prior allegations as if fully set forth herein.

        90.     As described above, Wozniak acted with malice in instituting and continuing the

criminal prosecution of Plaintiff regarding Haley Hensel.

        91.     The above-described criminal prosecution terminated in Plaintiff’s favor on July

19, 2022, when charges in the criminal action were dismissed.

        92.     Wozniak’s actions constituted malicious prosecution under Ohio law, and as a

direct and proximate result of Wozniak’s above-described misconduct, Plaintiff has been injured




                                                  15
Case: 2:23-cv-00942-JLG-EPD Doc #: 1 Filed: 03/13/23 Page: 16 of 24 PAGEID #: 16




and Plaintiff is entitled to all damages resulting from Wozniak’s actions, in an amount to be

proven at trial.

        93.        Wozniak’s above-described actions were malicious, reckless, deliberate, and

callously indifferent to Plaintiff’s protected rights.

              COUNT THREE: MALICIOUS PROSECUTION UNDER OHIO LAW

        94.        Plaintiff incorporates by reference the prior allegations as if fully set forth herein.

        95.        As described above, Wozniak acted with malice in instituting and continuing the

criminal prosecution of Plaintiff regarding Jaci Kincaid.

        96.        The above-described criminal prosecution terminated in Plaintiff’s favor on July

19, 2022, when charges in the criminal action were dismissed.

        97.        Wozniak’s actions constituted malicious prosecution under Ohio law, and as a

direct and proximate result of Wozniak’s above-described misconduct, Plaintiff has been injured

and Plaintiff is entitled to all damages resulting from Wozniak’s actions, in an amount to be

proven at trial.

        98.        Wozniak’s above-described actions were malicious, reckless, deliberate, and

callously indifferent to Plaintiff’s protected rights.

               COUNT FOUR: MALICIOUS PROSECUTION UNDER OHIO LAW

         99.       Plaintiff incorporates by reference the prior allegations as if fully set forth herein.

        100.       As described above, Wozniak acted with malice in instituting and continuing the

criminal prosecution of Plaintiff regarding Samantha Summer.

        101.       The above-described criminal prosecution terminated in Plaintiff’s favor on July

19, 2022, when charges in the criminal action were dismissed.




                                                     16
Case: 2:23-cv-00942-JLG-EPD Doc #: 1 Filed: 03/13/23 Page: 17 of 24 PAGEID #: 17




        102.       Wozniak’s actions constituted malicious prosecution under Ohio law, and as a

direct and proximate result of Wozniak’s above-described misconduct, Plaintiff has been injured

and Plaintiff is entitled to all damages resulting from Wozniak’s actions, in an amount to be

proven at trial.

        103.       Wozniak’s above-described actions were malicious, reckless, deliberate, and

callously indifferent to Plaintiff’s protected rights.

               COUNT FIVE: MALICIOUS PROSECUTION UNDER OHIO LAW

        104.       Plaintiff incorporates by reference the prior allegations as if fully set forth herein.

        105.       As described above, Wozniak acted with malice in instituting and continuing the

criminal prosecution of Plaintiff regarding Alisha Watters.

        106.       The above-described criminal prosecution terminated in Plaintiff’s favor on July

19, 2022, when charges in the criminal action were dismissed.

        107.       Wozniak’s actions constituted malicious prosecution under Ohio law, and as a

direct and proximate result of Wozniak’s above-described misconduct, Plaintiff has been injured

and Plaintiff is entitled to all damages resulting from Wozniak’s actions, in an amount to be

proven at trial.

        108.       Wozniak’s above-described actions were malicious, reckless, deliberate, and

callously indifferent to Plaintiff’s protected rights.

                                  COUNT SIX: ABUSE OF PROCESS

        109.       Plaintiff incorporates by reference the prior allegations as if fully set forth herein.

        110.       As described above, on June 9, 2021, Wozniak falsely and maliciously accused

Plaintiff of criminal violations regarding Haley Hensel.




                                                     17
Case: 2:23-cv-00942-JLG-EPD Doc #: 1 Filed: 03/13/23 Page: 18 of 24 PAGEID #: 18




        111.   As described above, on June 9, 2021, Wozniak prepared and signed an affidavit

that alleged that Plaintiff had committed numerous criminal violations; and prepared and signed

a Criminal Complaint. The filing of those documents initiated criminal proceedings against

Plaintiff.

        112.   Wozniak used the legal process for an ulterior purpose.

        113.   As described above, Wozniak willfully and/or intentionally filed said action to

harass, annoy Plaintiff and/or with ulterior motives.

        114.   On July 19, 2022, the State of Ohio dismissed its charges against Plaintiff at the

request of the special prosecutor due to lack of probable cause and other legal reasons.

        115.   The filing of said actions and use of the judicial system by Wozniak is not proper.

        116.   As a direct and proximate result of Wozniak’s wrongful use of process for an

ulterior purpose, Plaintiff has suffered damages in an amount to be determined at trial.

                            COUNT SEVEN: ABUSE OF PROCESS

        117.   Plaintiff incorporates by reference the prior allegations as if fully set forth herein.

        118.   As described above, on June 9, 2021, Wozniak falsely and maliciously accused

Plaintiff of criminal violations regarding Jaci Kincaid.

        119.   As described above, on June 9, 2021, Wozniak prepared and signed an affidavit

that alleged that Plaintiff had committed numerous criminal violations; and prepared and signed

a Criminal Complaint. The filing of those documents initiated criminal proceedings against

Plaintiff.

        120.   Wozniak used the legal process for an ulterior purpose.

        121.   As described above, Wozniak willfully and/or intentionally filed said action to

harass, annoy Plaintiff and/or with ulterior motives.




                                                 18
Case: 2:23-cv-00942-JLG-EPD Doc #: 1 Filed: 03/13/23 Page: 19 of 24 PAGEID #: 19




        122.   On July 19, 2022, the State of Ohio dismissed its charges against Plaintiff at the

request of the special prosecutor due to lack of probable cause and other legal reasons.

        123.   The filing of said actions and use of the judicial system by Wozniak is not proper.

        124.   As a direct and proximate result of Wozniak’s wrongful use of process for an

ulterior purpose, Plaintiff has suffered damages in an amount to be determined at trial.

                            COUNT EIGHT: ABUSE OF PROCESS

        125.   Plaintiff incorporates by reference the prior allegations as if fully set forth herein.

        126.   As described above, on June 9, 2021, Wozniak falsely and maliciously accused

Plaintiff of criminal violations regarding Samantha Sumner.

        127.   As described above, on June 9, 2021, Wozniak prepared and signed an affidavit

that alleged that Plaintiff had committed numerous criminal violations; and prepared and signed

a Criminal Complaint. The filing of those documents initiated criminal proceedings against

Plaintiff.

        128.   Wozniak used the legal process for an ulterior purpose.

        129.   As described above, Wozniak willfully and/or intentionally filed said action to

harass, annoy Plaintiff and/or with ulterior motives.

        130.   On July 19, 2022, the State of Ohio dismissed its charges against Plaintiff at the

request of the special prosecutor due to lack of probable cause and other legal reasons.

        131.   The filing of said actions and use of the judicial system by Wozniak is not proper.

        132.   As a direct and proximate result of Wozniak’s wrongful use of process for an

ulterior purpose, Plaintiff has suffered damages in an amount to be determined at trial.

                             COUNT NINE: ABUSE OF PROCESS

        133.   Plaintiff incorporates by reference the prior allegations as if fully set forth herein.




                                                 19
Case: 2:23-cv-00942-JLG-EPD Doc #: 1 Filed: 03/13/23 Page: 20 of 24 PAGEID #: 20




        134.    As described above, on October 25, 2021, Wozniak falsely and maliciously

accused Plaintiff of criminal violations regarding Alisha Watters.

        135.    As described above, on October 25, 2021, Wozniak prepared and signed an

affidavit that alleged that Plaintiff had committed numerous criminal violations; and prepared

and signed a Criminal Complaint. The filing of those documents initiated criminal proceedings

against Plaintiff.

        136.    Wozniak used the legal process for an ulterior purpose.

        137.    As described above, Wozniak willfully and/or intentionally filed said action to

harass, annoy, and/or with ulterior motives.

        138.    On July 19, 2022, the State of Ohio dismissed its charges against Plaintiff at the

request of the special prosecutor due to lack of probable cause and other legal reasons.

        139.    The filing of said actions and use of the judicial system by Wozniak is not proper.

        140.    As a direct and proximate result of Wozniak’s wrongful use of process for an

ulterior purpose, Plaintiff has suffered damages in an amount to be determined at trial.

                     COUNT TEN: CIVIL CONSPIRACY UNDER STATE LAW

        141.    Plaintiff incorporates by reference the prior allegations as if fully set forth herein.

        142.    Upon information and belief, City of Columbus and some of its elected officials

were under public pressure to “punish” police officers for their conduct during the riots.

        143.    On June 1, 2020, Mayor Andrew J. Ginther established an email hotline outside of

CPD’s chain of command for the public to send complaints, video, and photographs related to

officer actions during the protests and riots.

        144.    The City of Columbus represented to the public that an independent committee

established by the city reviewed complaints received and separated the complaints to be




                                                  20
Case: 2:23-cv-00942-JLG-EPD Doc #: 1 Filed: 03/13/23 Page: 21 of 24 PAGEID #: 21




investigated either criminally or administratively. Further, to ensure each complaint received an

independent review, the city hired Wozniak to investigate any complaints deemed potentially

criminal by the committee.

       145.    Upon information and belief, no independent committee was formed, there were

no procedures or protocols in place to ensure each complaint received an independent review,

there were no procedures or protocols in place how it would be determined that a complaint

should be referred for a criminal investigation, and there were no procedures or protocols in

place how a complaint would be reviewed by BakerHostetler to investigate administratively

versus a complaint that would be reviewed by Wozniak for a criminal investigation.

       146.    Upon information and belief, and according to a “probable cause” affidavit filed

by Wozniak, Jaci Kincaid submitted information to the hotline established by Mayor Ginther that

during the riots Plaintiff “walked right toward” a group and “pepper sprayed us”. There were no

allegations Kincaid or anyone in her group were injured as a result of the pepper spray, were

seized, or were arrested.

       147.    Plaintiff does not have knowledge as to what the City of Columbus did with this

information, however it was not referred to BakerHostetler to investigate administratively and

upon information and belief, it was referred to Wozniak for criminal investigation sometime in

the Fall of 2020.

       148.    By the beginning of 2021, no criminal charges were filed against any Columbus

Police Officer arising out of the riots. City of Columbus and some of its elected officials were

succumbing to political pressure to hold Columbus Police officers accountable for their actions

during the riots. As of December of 2020, City of Columbus had paid more than $50,000.00 to

Wozniak and $550,000.00 to BakerHostetler.




                                                21
Case: 2:23-cv-00942-JLG-EPD Doc #: 1 Filed: 03/13/23 Page: 22 of 24 PAGEID #: 22




       149.      Upon information and belief, in December of 2020, BakerHostetler, said there

were four cases of exonerated conduct, nine unfounded complaints, two withdrawn complaints

and 25 instances in which there was not enough evidence to prove or disprove the

allegations. There were three instances of sustained allegations — two of which were for failing

to properly report using force — and three investigations were ongoing.

       150.      On or about January 28, 2021, Columbus Police Chief Thomas Quinlan was

demoted back to deputy chief by Mayor Ginther who said in a written statement that Quinlan had

lost the public’s trust after failing to “successfully implement the reform and change I expect and

that the community demands. Columbus residents have lost faith in him and in the division's

ability to change on its own.”

       151.      Upon information and belief, Wozniak, City of Columbus and some of its elected

officials were succumbing to political pressure to hold Columbus Police officers accounted for

their actions during the riots and justify the 600,000.00 plus dollars spent when no criminal

complaints had been filed against any officer(s) and there were only three findings of

administrative violations.

       152.      As set forth above, Wozniak failed to investigate the matter. This included but

what not limited to interviewing Plaintiff’s superiors, officers that were with Plaintiff at or near

the area which established Plaintiff’s reasonable use of force, and rebut what Kincaid and others

were alleging.

       153.      Upon information and belief, Wozniak failed to interview two of the alleged

victims Hensel and Sumner before he filed the criminal complaints.




                                                22
Case: 2:23-cv-00942-JLG-EPD Doc #: 1 Filed: 03/13/23 Page: 23 of 24 PAGEID #: 23




          154.   Wozniak did not have probable cause to file the above referenced criminal

complaints against Plaintiff for lawfully deploying a one to two second burst of Division issued

chemical spray.

          155.   Defendants conspired to file criminal charges against Plaintiff knowing there was

no probable cause to warrant some or all of the charges.

          156.   Defendants used the criminal justice system to harass and annoy Plaintiff, and/or

with ulterior motives.

          157.   On July 19, 2022, the State of Ohio dismissed its charges against Plaintiff at the

request of the special prosecutor due to lack of probable cause and other legal reasons.

          158.   The filing of said actions and use of the judicial system by Defendants was not

proper.

          159.   As a direct and proximate result of Defendants’ conspiracy Plaintiff has suffered

damages in an amount to be determined at trial.




                                                 23
Case: 2:23-cv-00942-JLG-EPD Doc #: 1 Filed: 03/13/23 Page: 24 of 24 PAGEID #: 24




       WHEREFORE, Plaintiff prays that this Court award compensatory damages, in an

amount to be determined at trial against Defendants, punitive damages as to Defendant Wozniak,

prejudgment and post-judgment interest, costs, attorneys’ fees, and such other relief as the Court

may deem appropriate.



                                                Respectfully submitted,

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                                          JURY DEMAND

       Plaintiff requests a trial on all issues triable to a jury.

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                                                   24
